              Case 2:09-cr-00224-WBS Document 21 Filed 08/14/09 Page 1 of 1


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JUAN BERNARDO RODRIGUEZ
 6
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,             )   NO. CR.S. 09-00224-WBS
11                                         )
                        Plaintiff,         )
12                                         )   ORDER RE: CONTINUANCE OF STATUS
                  v.                       )   HEARING AND FINDINGS OF
13                                         )   EXCLUDABLE TIME
                                           )
14   JORGE ALVAREZ ALVAREZ, et al.,        )   DATE: October 5, 2009
                                           )   TIME: 8:30 a.m.
15                      Defendant.         )   JUDGE: Hon. William B. Shubb
                                           )
16   _______________________________
17                                   ORDER AND FINDINGS
18        The new status conference is set for October 5, 2009 at 8:30 a.m.
19   The court finds that the interests of justice are best served and the
20   public interest is protected by granting the continuance in the above-
21   captioned matter.      Accordingly, time is excluded from the date of this
22   order through October 5, 2009, in computing the time within which trial
23   must commence under the Speedy Trial Act, pursuant to Title 18 U.S.C.
24   §3161(h)(7)(B)(iv) and Local Code T4. (reasonable time to prepare.)
25   DATED:    August 13, 2009
26
27
28



                                               4
